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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )          8:02CR164
                      Plaintiff,                      )
                                                      )
       vs.                                            )            ORDER
                                                      )
YAMIL RIVERA-KADER,                                   )
                                                      )
                      Defendant.                      )


       This matter is before the court on the motion of Kristina B. Murphree to withdraw as
CJA court-appointed counsel for the defendant, Yamil Rivera-Kader (Rivera-Kader) (Filing
No. 443). Since retained counsel, James Martin Davis, has entered an appearance for
Rivera-Kader (Filing No. 441), Ms. Murphree’s motion to withdraw (Filing No. 443) is granted.
Withdrawing counsel shall submit her CJA 20 voucher to the Office of the Federal Public
Defender within forty-five (30) days of this order.
       Ms. Murphree shall forthwith provide Mr. Davis with the discovery materials provided
the defendant by the government and such other materials obtained by Ms. Murphree which
are material to Rivera-Kader’s defense.
       The clerk shall provide a copy of this order to the Office of the Federal Public Defender.
       IT IS SO ORDERED.
       DATED this 21st day of September, 2005.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge
